        Case: 3:18-cr-00139-wmc Document #: 28 Filed: 11/06/18 Page 1 of 2




                              U.S. Department of Justice
                                                                                           Telephone 608/264-5158
                              Scott C. Blader                                                   TTY 608/264-5006

                              United States Attorney                        Administrative Facsimile 608/264-5183
                                                                             Civil Division Facsimile 608/264-5724
                              Western District of Wisconsin              Criminal Division Facsimile 608/264-5054

 Address:
 222 West Washington Avenue
 Suite 700
 Madison, Wisconsin 53703

                                          November 6, 2018

William R. Jones
Jones Law Firm
PO Box 44188
Madison, WI 53744

        Re:       United States of America v. Johnell L. Britt et al
                  Case No: 18-cr-00139-wmc

Dear Attorney Jones:

     Enclosed please find supplemental discovery in this case, Bates labeled
BR000518-BR000533.

       If you have any questions regarding this matter, please do not hesitate to contact
me at (608) 264-5158.

                                                    Very truly yours,

                                                    SCOTT C. BLADER
                                                    United States Attorney

                                                    By:
                                                                 /s/
                                                    RITA M. RUMBELOW
                                                    Assistant United States Attorney
                               Case: 3:18-cr-00139-wmc Document #: 28 Filed: 11/06/18 Page 2 of 2
BegDoc# EndDoc# PgCount Filename                                                Folder                File Type       DateCreated
BR000518   BR000518    1   TMobile Call Data 20180819-20180821                  Britt Phone Records   Spreadsheet         10/16/2018
BR000519   BR000519    1   TMobile Certification                                Britt Phone Records   Adobe Acrobat       10/16/2018
BR000520   BR000521    2   TMobile Interpreting Call Detail Records 200180807   Britt Phone Records   Adobe Acrobat       10/16/2018
BR000522   BR000523    2   TMobile Interpreting Subscriber Information          Britt Phone Records   Adobe Acrobat       10/16/2018
BR000524   BR000524    1   TMobile Subscriber Info for 6082076343               Britt Phone Records   Adobe Acrobat       10/16/2018
BR000525   BR000525    1   TMobile UTC Information Sheet 20180525               Britt Phone Records   Adobe Acrobat       10/16/2018
BR000526   BR000533    8   TMobile Warrant for Records                          Britt Phone Records   Adobe Acrobat       10/16/2018




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